                                 Case 25-10469-MFW                      Doc 1        Filed 03/16/25           Page 1 of 24



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter     11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                F21 OpCo, LLC


2.   All other names debtor
     used in the last 8 years
     Include any assumed          Forever 21
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)                 84–4488773


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business



                                  110 East 9th Street
                                  Suite A500
                                  Los Angeles, CA 90079
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                       Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.forever21.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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                                       Case 25-10469-MFW                  Doc 1         Filed 03/16/25              Page 2 of 24
Debtor    F21 OpCo, LLC                                                                                 Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                        4481 (Clothing Stores)

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.   Were prior bankruptcy                  No.
     cases filed by or against                      See Attachment 1 for additional information.
                                            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                                District                                        When                           Case number
                                                   District                                        When                           Case number

10. Are any bankruptcy cases                No      Yes.
    pending or being filed by a
    business partner or an
    affiliate of the debtor?

     List all cases. If more than 1,
     attach a separate list                        Debtor          See Attachment 2                                              Relationship
                                                   District                                        When                          Case number, if known




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   F21 OpCo, LLC                                                                            Case number (if known)
         Name

11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                  It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                              Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                  No
                                                  Yes.        Insurance agency
                                                              Contact name
                                                              Phone



         Statistical and administrative information

13. Debtor's estimation of       .        Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                     50-99                                           5001-10,000                                 50,001-100,000
     (on a consolidated basis)       100-199                                         10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
     (on a consolidated basis)       $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities            $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
     (on a consolidated basis)        $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor   F21 OpCo, LLC                                                                             Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 16, 2025
                                                  MM / DD / YYYY


                             X     /s/ Stephen Coulombe                                                   Stephen Coulombe
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Co-Chief Restructuring Officer




18. Signature of attorney    X /s/ Andrew L. Magaziner                                                     Date March 16, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew L. Magaziner
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      amagaziner@ycst.com

                                 5426 Delaware
                                 Bar number and State




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                                                      ATTACHMENT 1

                 On September 29, 2019, Forever 21, Inc., Alameda Holdings, LLC, Forever 21
         International Holdings, Inc., Forever 21 Logistics, LLC, Forever 21 Real Estate Holdings, LLC,
         Forever 21 Retail, Inc., Innovative Brand Partners, LLC, and Riley Rose, LLC (the 2019
         Debtors”) commenced voluntary cases (Case Nos. 19-12122 (KG), 19-12123 (KG), 19-12124
         (KG), 19-12125 (KG), 19-12126 (KG), 19-12127 (KG), 19-12128 (KG), 19-12129 (KG),
         respectively, the “2019 Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code
         in the United States Bankruptcy Court for the District of Delaware. The cases were procedurally
         consolidated and jointly administered under Case No. 19-12122 (KG). 1 Substantially all of the
         2019 Debtors’ assets were acquired by Debtor F21 OpCo, LLC during the 2019 Chapter 11 Cases.




         1
          On February 18, 2020, the 2019 Chapter 11 Cases were transferred to the Honorable Mary F. Walrath for all further
         proceedings and dispositions. See D.I. 947.




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                                                ATTACHMENT 2

                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                  On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
         petition in the United States Bankruptcy Court for the District of Delaware for relief under chapter
         11 of title 11 of the United States Code. The Debtors have moved for joint administration of these
         cases under the case number assigned to the chapter 11 case of Debtor F21 OpCo, LLC.


                                 Debtor                        Employer Identification Number

               F21 OpCo, LLC                                XX-XXXXXXX

               F21 Puerto Rico, LLC                         XX-XXXXXXX

               F21 GiftCo Management, LLC                   XX-XXXXXXX




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  Fill in this information to identify the case:

  Debtor name F21 OPCO, LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                            (State)
  Case number (If known):
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.
 Name of creditor and complete        Name, telephone number, and            Nature of the    Indicate if     Amount of unsecured claim
 mailing address, including zip       email address of creditor              claim (for       claim is        If the claim is fully unsecured, fill in only
 code                                 contact                                example, trade   contingent,     unsecured claim amount. If claim is partially
                                                                                  debts, bank     unliquidated,   secured, fill in total claim amount and
                                                                                  loans,          or disputed     deduction for value of collateral or setoff to
                                                                                  professional                    calculate unsecured claim.
                                                                                  services, and
                                                                                  government                      Total         Deduction        Unsecured
                                                                                  contracts)                      claim, if     for value of     claim
                                                                                                                  partially     collateral or
                                                                                                                  secured       setoff
       HANGZHOU QIDI FASHION
       APPAREL CO LTD
       JULIE DENG
       ROOM 102, BLOCK A, 1               JULIE DENG
       BLDG, JINGWEI                      PHONE: +86-57188193501
  1                                                                                   TRADE                                                      $11,497,512.75
       INTERNATIONAL CREATIVE             FAX: +86-57188193567
       PARK, 279# SHIQIAO RD              EMAIL: JULIE@HZBRIGHTFASHION.COM
       XIACHENG DISTRICT
       HANGZHOU, 310000
       CHINA
       C & C NANTONG CATHAY
       CLOTHING CO LTD
       ALICE
                                          ALICE
       NO.999, PINGCHAO TOWN,
                                          PHONE: +86-13906293660
  2    TONGZHOU                                                                       TRADE                                                      $11,108,937.02
                                          FAX: +86-51381180005
       ROOM 1603, NO.33
                                          EMAIL: ALICE@CATHAYCLOTHING.COM
       GONGNONG ROAD
       NANTONG, 226100
       CHINA


       NKM HOLDINGS LTD
       11F, BONA INTERNATIONAL
       PLAZA, NO. 456 TAIKANG             PHONE: +86-574-87857878
  3                                                                                   TRADE                                                      $10,746,471.53
       MIDDLE ROAD                        FAX: +86-57487857871
       NINGBO, 315199                     EMAIL: NKM@NKM.CN
       CHINA




       KISOO K TRADING CO LTD
       JAKE                               JAKE
       #5TH FL, JAEYOUNG BLDG             PHONE: +82-7070988787
  4                                                                                   TRADE                                                      $10,180,928.57
       63, NONHYEON-RO 31-GIL             FAX: +82-220887040
       SEOCHO-GU, 06745                   EMAIL: JAKE@KISOO1.CO.KR
       SOUTH KOREA




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                               page 1
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 Debtor   F21 OPCO, LLC                                                                       Case number (if known)
          Name



   Name of creditor and complete      Name, telephone number, and           Nature of the    Indicate if       Amount of unsecured claim
   mailing address, including zip     email address of creditor             claim (for       claim is          If the claim is fully unsecured, fill in only
   code                               contact                               example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                            debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                            loans,           or disputed       deduction for value of collateral or setoff to
                                                                            professional                       calculate unsecured claim.
                                                                            services, and
                                                                            government                         Total        Deduction         Unsecured
                                                                            contracts)                         claim, if    for value of      claim
                                                                                                               partially    collateral or
                                                                                                               secured      setoff


          LEUKON INC
          KS AHN(LK)
                                      KS AHN(LK)
          SEONGSU HYUNDAI
                                      PHONE: +82-1088881193
    5     TERRACE TOWER, EAST                                                   TRADE                                                        $10,016,172.80
                                      FAX: +82-25651805
          15F, YEONMUJANG 5GA-GIL
                                      EMAIL: KSAHN@LEUKON.CO.KR
          SEONGDONG-GU,
          SOUTH KOREA


          JIANGYIN KENADI
          INTERNATIONAL TRADE CO
          LTD
                                      SERENA KIM
          SERENA KIM
    6                                 PHONE: +86-13917663967                    TRADE                                                         $9,149,317.94
          ROOM 432, BUILDING1,
                                      EMAIL: SERENA@GND-CHINA.COM
          NO2, BINJIANG WEST RD
          SHANGHAI, 07072
          CHINA


          MANREN HK ENTERPRISE
          LIMITED
          RM D 10/F TOWER A BILLIO    PHONE: +86-2151695866
    7     N CTR 1 WANGKWONG RD        FAX: +86-2151761380                       TRADE                                                         $7,014,039.99
          KOWLOON BAY KL              EMAIL:
          HONG KONG, 999077           DOCUMENT_SH@MANREN-SH.COM
          HONG KONG



          KNF INTERNATIONAL CO
          LTD                         HEONGSAM MA
          HEONGSAM MA                 PHONE: +82-25501442
    8     408, SAMSEONG-RO,           FAX: +82-25666880                         TRADE                                                         $6,992,103.90
          GANGNAM-GU                  EMAIL:
          SEOUL, 06185                SAMMA@KNF-INTERNATIONAL.COM
          SOUTH KOREA




          CFH FASHION INC             ANDY WANG
          ANDY WANG                   PHONE: 390-629-3660
    9                                                                           TRADE                                                         $5,319,590.33
          625 S BERENDO ST #403       FAX: +86-51368716720
          LOS ANGELES, CA 90005       EMAIL: ANDYWANG@CFHFASHION.COM




          NANTONG Z & Z GARMENT
          CO LTD
          CAO YUHUA                   CAO YUHUA
          NO.54,55, XI CHAN SI CUN,   PHONE: +86-51386111728
   10                                                                           TRADE                                                         $4,974,988.70
          XITING TOWN, TONGZHOU       FAX: +86-051386515308
          DISTRICT                    EMAIL: MICHAEL@ZZ-GARMENT.COM
          NANTONG CITY,
          CHINA


          SHAOXING LANKOU
          TRADING CO LTD
          WANG WEIGUO                 WANG WEIGUO
          ROOM 1803, BUILDING 3,      PHONE: +86-13306756727
   11                                                                           TRADE                                                         $4,881,548.52
          GOLDEN TIMES MANSION,       FAX: +86-57588037111
          YUECHENG DISTRICT           EMAIL: WANGWG@TIANYULTD.COM
          SHAOXING CITY, 312000
          CHINA




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             page 2
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 Debtor   F21 OPCO, LLC                                                                     Case number (if known)
          Name



   Name of creditor and complete     Name, telephone number, and          Nature of the    Indicate if       Amount of unsecured claim
   mailing address, including zip    email address of creditor            claim (for       claim is          If the claim is fully unsecured, fill in only
   code                              contact                              example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                          debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                          loans,           or disputed       deduction for value of collateral or setoff to
                                                                          professional                       calculate unsecured claim.
                                                                          services, and
                                                                          government                         Total        Deduction         Unsecured
                                                                          contracts)                         claim, if    for value of      claim
                                                                                                             partially    collateral or
                                                                                                             secured      setoff

          NANTONG D & J FASHION
          CO LTD
          JESSICA QIU                JESSICA QIU
          5TH FLOOR, BUILDING        PHONE: +86-51355081666
   12                                                                         TRADE                                                         $4,438,493.22
          NO.3, NO.385 GUOQIANG      FAX: +86-513-55082810
          ROAD. NANTONG CITY         EMAIL: JESSICA@DJFASHION.COM.CN
          NANTONG,
          CHINA

          SHANGHAI TOEX
          INTERNATIONAL TRADING
          CO LTD
          LI GE BIN
                                     LI GE BIN
          FLOOR 5, BUILDING 6, NO.
   13                                PHONE: +86-13917724425                   TRADE                                                         $4,199,957.81
          67 ZHUJIN ROAD,
                                     EMAIL: JOSH@TOEX.CN
          SONGJIANG DISTRICT,
          SHANGHAI
          SHANGHAI, 201615
          CHINA
          SHANGHAI FEI CHUAN IMP
          & EXP CORP
          MEEHUA
          FL18 NO.85 LOUSHANGUAN
                                     MEEHUA
          ROAD
   14                                PHONE: +86-02165350735                   TRADE                                                         $4,135,133.39
          ROOM 312. NO. 25
                                     EMAIL: MEEHUA.P@SNMINDUSTRY.COM
          BUILDING, 664 XIN HUA
          ROAD
          SHANGHAI, 200052
          CHINA
          GRAND APPARELS
          DESIGNS LIMITED
          HELEN LIU
                                     HELEN LIU
          ROOM 807, HARBOUR
                                     PHONE: +852-23688666
   15     CRYSTAL CENTRE, 100                                                 TRADE                                                         $4,121,748.27
                                     FAX: +85-223688669
          GRANVILLE ROAD
                                     EMAIL: HELEN.LIU@GRANDSTEP.CN
          TSIM SHA TSUI EAST,
          100HKG
          HONG KONG


          QINGDAO HORIZON
          TRADING CO LTD
          GRACE                      GRACE
   16     NO. 4 PINGXIANG ROAD,      PHONE: +86-53284971075                   TRADE                                                         $3,738,236.54
          SHIBEI DISTRICT            EMAIL: GRACE@QDHORIZON.COM
          QINGDAO,
          CHINA


          HONG KONG BUTTERFLY
          LIMITED
          HE JUAN
                                     HE JUAN
          UNIT 04, 7/F BRIGHT WAY
   17                                FAX: +85-057584624761                    TRADE                                                         $3,372,941.71
          TOWER NO. 33 MONG KOK
                                     EMAIL: JIAJIA@YIDIEGARMENT.COM
          ROAD
          KOWLOON, 852
          HONG KONG


          WEIHAI HILOW IMP & EXP
          CO LTD
          WEIGON ZHAO                WEIGON ZHAO
   18     ROOM 1409 NO 268-2         PHONE: +86-63199509                      TRADE                                                         $3,126,911.90
          SHICHANG RD                EMAIL: WEIGON.ZHAO@HILOW.COM.CN
          WEIHAI, 264200
          CHINA




Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             page 3
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 Debtor   F21 OPCO, LLC                                                                       Case number (if known)
          Name



   Name of creditor and complete       Name, telephone number, and          Nature of the    Indicate if       Amount of unsecured claim
   mailing address, including zip      email address of creditor            claim (for       claim is          If the claim is fully unsecured, fill in only
   code                                contact                              example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                            debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                            loans,           or disputed       deduction for value of collateral or setoff to
                                                                            professional                       calculate unsecured claim.
                                                                            services, and
                                                                            government                         Total        Deduction         Unsecured
                                                                            contracts)                         claim, if    for value of      claim
                                                                                                               partially    collateral or
                                                                                                               secured      setoff

          CREATEX HOLDINGS
          LIMITED
          ALISON WU                    ALISON WU
          BUILDING #6~7, TIANKOU       PHONE: +852-25237012
   19     INDUSTRIAL ZONE,             FAX: +86-75527507734                     TRADE                                                         $2,842,782.18
          HUANGTIAN, HANGCHENG,        EMAIL:
          BAOAN DISTRICT               ALISONWU@ZHENGXINFASHION.COM
          SHENZHEN,
          CHINA

          YOUNG PLUS TRADING HK
          CO LTD
                                       GAO DOU FENG
          GAO DOU FENG
                                       PHONE: +86-18606411111
          419 ROOM, QIAOXING
   20                                  FAX: +86-2034330298                      TRADE                                                         $2,668,247.90
          BUILDING NO.33 XINGNAN
                                       EMAIL:
          ROAD PANYU DISTRICT
                                       GAODOUFENG@BONGLIMTRADING.COM
          GUANGZHOU,
          CHINA


          SNOGEN GREEN LTD
          SNOGEN GREEN CO.,LTD         SNOGEN GREEN CO.,LTD
          13F, (SEOCHO-DONG,           PHONE: +82-264966400
   21     GANGNAM BLDG.,) 396,         FAX: +82-264966480                       TRADE                                                         $2,653,954.64
          SEOCHO-DAERO                 EMAIL:
          SEOCHO-GU, 06619             FOREVER21@SNOGENGREEN.COM
          SOUTH KOREA




          O & K INC DBA ONE            HENRY LEE
          CLOTHING                     PHONE: 323-846-5700
   22     HENRY LEE                    FAX: 323-846-5832                        TRADE                                                         $2,493,333.34
          2121 E. 37TH ST              EMAIL:
          LOS ANGELES, CA 90058        HENRY.LEE@ONECLOTHING.COM



          BONA INDUSTRIAL CO
          LIMITED
                                       YIN ZHENGWAN
          YIN ZHENGWAN
                                       PHONE: +86-2151761381
          11/F CAPITAL CENTRE 151
   23                                  FAX: +85-230137332                       TRADE                                                         $2,344,086.53
          GLOUCESTER ROAD
                                       EMAIL:
          WANCHAI
                                       YINZHENGWAN@LINSHENG.SH.CN
          HONG KONG, 999077
          HONG KONG

          NEW CENTURY TEXTILES
          LTD
          CATER                        CATER
          RM 502-503, NO.3             PHONE: +86-213496385
   24     BLDG,LEGEND                  FAX: +86-2154225780                      TRADE                                                         $2,256,660.88
          COMMERCIAL PLAZA, LANE       EMAIL:
          3599, QIXIN ROAD             CATER@NEWCENTURYTEXTILES.COM
          SHANGHAI, 201101
          CHINA

          GUANGZHOU HONG YING
          DA CLOTHING CO LTD
          SILVIA WEN
                                       SILVIA WEN
          1/F 3/F NO.1 BUILDING3 NO.
   25                                  PHONE: +86-02062287968                   TRADE                                                         $2,249,277.02
          14 LIXIN 12 ROAD
                                       EMAIL: SILVIA@HONGYINGDA.NET
          ZENGCHENG
          GUANGZHOU, 511340
          CHINA




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             page 4
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 Debtor   F21 OPCO, LLC                                                                     Case number (if known)
          Name



   Name of creditor and complete    Name, telephone number, and           Nature of the    Indicate if       Amount of unsecured claim
   mailing address, including zip   email address of creditor             claim (for       claim is          If the claim is fully unsecured, fill in only
   code                             contact                               example, trade   contingent,       unsecured claim amount. If claim is partially
                                                                          debts, bank      unliquidated,     secured, fill in total claim amount and
                                                                          loans,           or disputed       deduction for value of collateral or setoff to
                                                                          professional                       calculate unsecured claim.
                                                                          services, and
                                                                          government                         Total        Deduction         Unsecured
                                                                          contracts)                         claim, if    for value of      claim
                                                                                                             partially    collateral or
                                                                                                             secured      setoff



          DENIM & BEYOND LLC
                                    CEO DENIM
          CEO DENIM
   26                               PHONE: 302-232-4488                       TRADE                                                         $2,200,011.43
          3422 HILLDALE PT
                                    EMAIL: CEO@DENIMBEYOND.COM
          SAN ANTONIO, TX 78261




          GLOBAL FASHION
          RESOURCE INC DBA SSS      MICHAEL KIM
          CLOTHING                  PHONE: 213-973-5941
   27                                                                         TRADE                                                         $2,044,437.73
          MICHAEL KIM               FAX: 213-973-5944
          3315 S BROADWAY           EMAIL: MICHAEL@SSSCLOTHING.COM
          LOS ANGELES, CA 90007



          NINGBO LONG LAN
          FASHION GARMENT INC
          PETER CHEN                PETER CHEN
          NO.6 HUATIANFAN,          PHONE: +86-57488985209
   28                                                                         TRADE                                                         $1,821,443.85
          CHUNHU TOWN, FENGHUA      FAX: +86-57488985201
          DISTRICT                  EMAIL: PETER@LONGLANFS.COM
          NINGBO, 315506
          CHINA




          GOOGLE INC.
          1600 AMPHITHEATRE         FAX: 650-253-0001                        SERVICE
   29                                                                                                                                       $1,782,162.99
          PARKWAY                   EMAIL: COLLECTIONS@GOOGLE.COM           PROVIDER
          MOUNTAIN VIEW, CA 94043



          NINGBO ORIENT HONGYE
          IMP & EXP INC
          JILLY YANG
                                    JILLY YANG
          NO.97 WUJIA ROAD,
                                    PHONE: +86-2161031555
   30     SEDUNO BUILDING,                                                    TRADE                                                         $1,693,531.73
                                    FAX: +86-2161031599
          HENGTONG PLAZA, HAISHU
                                    EMAIL: JILLY@ORIENT-HONGYE.COM
          DISTRICT, NINGBO
          SHANGHAI, 201103
          CHINA




Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             page 5
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                  OMNIBUS ACTION TAKEN BY WRITTEN CONSENT
                       OF THE BOARD OF MANAGERS OF:
                               F21 OPCO, LLC;

                                      AND THE
                               SOLE MEMBER OF EACH OF:

                                  F21 PUERTO RICO, LLC
                             F21 GIFTCO MANAGEMENT, LLC

                                         March 14, 2025

              WHEREAS, (i) F21 OpCo, LLC (“F21 OpCo”), a Delaware limited liability
company, is managed by a Board of Managers (the “Board”); (ii) each of the following are
managed by its sole member, F21 OpCo (the “OpCo Member”): F21 Puerto Rico, LLC
(“F21 PR”), a Delaware limited liability company; and F21 Giftco Management, LLC
(“F21 Giftco”), a Tennessee limited liability company;

            WHEREAS, F21 OpCo, F21 PR, F21 Giftco, are referred to collectively herein as
the “F21 Companies;”

                 WHEREAS, each of the Board and the OpCo Member are referred to herein
collectively as the “Governing Bodies” and each individually as the “Governing Body” with
respect to its applicable F21 Company;

               WHEREAS, each Governing Body has reviewed and considered the financial and
operational condition of their respective F21 Company and of the F21 Companies as a whole,
including (which word, for all purposes of these resolutions, shall be interpreted to be followed by
the words, “without limitation”) the historical performance of the F21 Companies, the assets of
the F21 Companies, the current and long-term liabilities of the F21 Companies, and relevant
industry and credit market conditions, and have considered various alternatives in respect of such
matters;

                WHEREAS, each Governing Body has received, reviewed, and considered the
recommendations of, and the materials presented by, the senior management of its applicable
F21 Company and such F21 Company’s legal, financial, and other outside professional advisors
as to the financial condition of the F21 Companies and the relative risks and benefits of pursuing
a case under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”);

               WHEREAS, each Governing Body reasonably believes that its applicable
F21 Company’s pursuing a case under the Bankruptcy Code on a coordinated basis with the other
F21 Companies is expected to preserve more value for such F21 Company and its stakeholders
than any other available alternative;
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              WHEREAS, as required under Section 7.03(g) of that certain Fourth Amended and
Restated Limited Liability Company Agreement of F21 OpCo, dated January 14, 2025, SPARC
Group Holdings LLC has consented to the filing of a petition for relief under the provisions of the
Bankruptcy Code;

                WHEREAS, having determined that the following actions are desirable and in the
best interests of the F21 Companies and their stakeholders, the Governing Bodies of the F21
Companies previously resolved on January 15, 2025, to (i) authorize F21 OpCo to enter into an
agreement (the “CRO Agreement”), on behalf of itself and certain of its subsidiaries, with
Berkeley Research Group, LLC (“BRG”) in order for BRG to make its personnel available to
provide certain management services to the F21 Companies, (ii) create the office of Chief
Restructuring Officer of F21 OpCo (the “CRO”), and (iii) appoint each of Mr. Stephen Coulombe
and Mr. Michael Brown as a CRO (together, the “co-CROs”);

               WHEREAS, the intention of each Governing Body with respect to its applicable
F21 Company is to (i) use the Bankruptcy Code to implement an orderly wind down of its business
and liquidation of its assets to maximize value for the benefit of each F21 Company’s stakeholders
while continuing to market their business to third parties on a going concern basis, and (ii) seek
the use of cash collateral to fund such process;

                 WHEREAS, the Governing Bodies have reviewed and considered the
F21 Companies’ need to undertake the transactions set forth in that certain Plan Support
Agreement (the “PSA”) and have determined that it is in the best interests of each F21 Company,
its creditors as a whole, and other parties in interest for the F21 Companies to enter into the PSA;

               WHEREAS, the Governing Bodies have reviewed and considered the need for
Authorized Persons (as defined below) to take further actions to carry out the intent and purpose
of the following resolutions, perform the obligations of each F21 Company under the
Bankruptcy Code, and pay fees and expenses in connection with the transactions contemplated by
the below resolutions; and

                WHEREAS, the Governing Bodies have reviewed and considered certain actions
that may have previously been taken by any director, officer, employee, manager, member,
stockholder, general partner, or agent of any F21 Company in connection with or related to the
matter set forth in the below resolutions;

               NOW, THEREFORE, IT IS:

               1. Entry into Plan Support Agreement

                RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby determines that it is desirable and in the best interest of each such F21
Company, its creditors, and other parties in interest, that each F21 Company shall be, and hereby
is, authorized to enter into the PSA, by and among each F21 Company and certain consenting
creditors substantially in the form presented to the applicable Governing Body on or in advance of
the date hereof, with such changes, additions, and modifications thereto as an Authorized Person
(as defined herein) of each F21 Company executing the same shall approve, such approval



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conclusively evidenced by such Authorized Person’s execution and delivery thereof; and be it
further

               RESOLVED, that the Authorized Person be, and hereby is, authorized and
empowered to enter into, on behalf of each F21 Company, the PSA, and to take any and all actions
necessary or advisable to advance such F21 Company’s rights and obligations therein, and in
connection therewith, the Authorized Person, with power of delegation, is hereby authorized and
directed to execute the PSA on behalf of such F21 Company and to take all necessary actions in
furtherance of consummation of such agreement’s terms; and be it further

               2. Bankruptcy Resolutions

                       a. Chapter 11 Filings

                 RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby determines that it is desirable and in the best interests of such F21 Company,
its creditors as a whole, and other parties in interest that such F21 Company file a voluntary petition
for relief (the “Petition” and, together with the similar petitions by all other F21 Companies, the
“Petitions”) and commence a case (collectively, the “Bankruptcy Cases”) under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”); and be it further

                 RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes, directs, and empowers any officer or other authorized person of
any of the F21 Companies, including the co-CROs (each, an “Authorized Person”), acting in the
name and on behalf of such F21 Company, to (i) execute and verify the Petition as well as all other
ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court, and to make
or cause to be made prior to the execution thereof, any modifications to the Petition or ancillary
documents, and to (ii) execute, verify, and file or cause to be filed all of the petitions, schedules,
lists, and other motions, objections, replies, applications, and other papers or documents advisable,
appropriate, convenient, desirable, or necessary in connection with the foregoing; and be it further

                 RESOLVED, that in connection with the filing of the Petitions, each
Governing Body, acting with respect to its applicable F21 Company, hereby (i) authorizes and
directs the Authorized Persons, in the name and on behalf of such F21 Company, to engage in
discussions and negotiations with all stakeholders in order to prosecute the Bankruptcy Cases,
(ii) authorizes, adopts, and approves the form, terms, and provisions of, and is hereby authorized
and empowered to file with the Bankruptcy Court any motions, pleadings, and any other
documents to be performed or agreed to by such F21 Company that are reasonably necessary for
prosecution of and in connection with the proceedings of the Bankruptcy Cases (collectively,
the “Ancillary Documents”), and (iii) authorizes and directs the Authorized Persons, in the name
and on behalf of such F21 Company, to execute and deliver (with such changes, additions, and
modifications thereto as the Authorized Persons executing the same shall approve, such approval
to be conclusively evidenced by such Authorized Persons’ execution and delivery thereof) each of
the Ancillary Documents to which such F21 Company is a party and, upon the execution and
delivery thereof by each of the other parties thereto, cause such F21 Company to perform its
obligations thereunder; and be it further


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                       b. Retention of Professionals

                RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes and directs each Authorized Person, in the name and on behalf
of such F21 Company, to employ certain individuals and/or firms as counsel, professionals,
consultants, accountants, restructuring advisors, or financial advisors to such F21 Company as
such Authorized Person, or any one of them, may deem advisable, appropriate, convenient,
desirable, or necessary to represent and assist such F21 Company in carrying out its duties under
the Bankruptcy Code, and in connection therewith, the Authorized Persons be, and each of them
hereby is, authorized and directed, in the name and on behalf of such F21 Company, to execute
appropriate retention agreements, pay appropriate retainers prior to the filing of the Petition, and
to cause to be filed appropriate applications for authority to retain the services of such individuals
and firms; and be it further

                 RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes and directs each Authorized Person, in the name and on behalf
of such F21 Company, to employ the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP
(“Paul, Weiss”) to represent such F21 Company as special corporate and finance counsel, and to
employ the law firm of Young Conaway Stargatt & Taylor, LLP (“YCST”) to represent such
F21 Company as chapter 11 counsel and to represent and assist such F21 Company in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance such
F21 Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Cases;
and in connection therewith, the Authorized Persons be, and each of them hereby is, authorized
and directed, in the name and on behalf of such F21 Company, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Petition, and
to cause to be filed an appropriate application for authority to retain the services of Paul, Weiss
and YCST; provided, that any prior actions taken in connection therewith are hereby ratified in
their entirety; and be it further

                RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes and directs each Authorized Person, in the name and on behalf
of such F21 Company, to employ BRG to represent such F21 Company and provide consulting
services to such F21 Company with regard to the Bankruptcy Cases; and in connection therewith,
the Authorized Persons be, and each of them hereby is, authorized and directed, in the name and
on behalf of such F21 Company, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Petition, and to cause to be filed an
appropriate application for authority to retain the services of BRG; provided, that any prior actions
taken in connection therewith are hereby ratified in their entirety; and be it further

                RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes and directs each Authorized Person, in the name and on behalf
of such F21 Company, to employ Verita Global (the “Claims Agent”) to represent such
F21 Company and provide notice and claims agent services to such F21 Company with regard to
the Bankruptcy Cases; and in connection therewith, the Authorized Persons be, and each of them
hereby is, authorized and directed, in the name and on behalf of such F21 Company, to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Petition, and to cause to be filed an appropriate application for authority to retain the


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services of the Claims Agent; provided, that any prior actions taken in connection therewith are
hereby ratified in their entirety; and be it further

                RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes and directs each Authorized Person, in the name and on behalf
of such F21 Company, to employ SSG Capital Advisors, LLC (the “Investment Banker”) to
represent such F21 Company and provide investment banking services to such F21 Company with
regard to the Bankruptcy Cases; and in connection therewith, the Authorized Persons be, and each
of them hereby is, authorized and directed, in the name and on behalf of such F21 Company, to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
the filing of the Petition, and to cause to be filed an appropriate application for authority to retain
the services of the Investment Banker; provided, that any prior actions taken in connection
therewith are hereby ratified in their entirety; and be it further

                 RESOLVED, that each Governing Body, acting with respect to its applicable
F21 Company, hereby authorizes and directs each Authorized Person, in the name and on behalf
of such F21 Company, to employ Hilco Merchant Resources, LLC, Gordon Brothers
Retail Partners, LLC, and SB360 Capital Partners, LLC (the “Store Closing Advisors”) to
represent such F21 Company and provide liquidation advisory services to such F21 Company with
regard to the Bankruptcy Cases; and in connection therewith, the Authorized Persons be, and each
of them hereby is, authorized and directed, in the name and on behalf of such F21 Company, to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
the filing of the Petition, and to cause to be filed a motion seeking authority to assume that certain
Second Amendment to Letter Agreement, dated as of February 12, 2025, with the Store Closing
Advisor; provided, that any prior actions taken in connection therewith are hereby ratified in their
entirety; and be it further

               3. Cash Collateral and Liquidation Process

                RESOLVED, that each applicable Governing Body, acting with respect to its
applicable F21 Company, hereby determines that such F21 Company will obtain benefits from the
use of cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition secured lenders and noteholders
(collectively, the “Secured Parties”) party to (i) that certain ABL Credit Agreement, dated as of
December 6, 2024, by and among Penney Holdings LLC, as lead administrative borrower,
Wells Fargo Bank, National Association, as administrative agent, and the guarantors party thereto
from time to time, (ii) that certain Term Loan Credit Agreement, dated as of December 6, 2024,
by and among Penney Holdings LLC, as lead administrative borrower, Pathlight Capital LP, as
administrative and collateral agent, and the guarantors party thereto from time to time, and (iii) that
certain Subordinated Loan Credit Agreement, dated as of December 19, 2024, by and among
Penny Holdings LLC, as lead administrative borrower, Simon Blackjack Consolidated Holdings,
LLC, as administrative and collateral agent, and the guarantors party thereto from time to time;
and be it further

                RESOLVED, that, each applicable Governing Body acting with respect to its
applicable F21 Company, hereby authorizes and directs each of the Authorized Persons to
(i) negotiate, execute, and deliver agreements, if applicable, for the use of cash collateral in


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connection with the Bankruptcy Cases on terms substantially similar to those described or provided
(or to be described or provided) to the Board; (ii) pledge and grant liens on the F21 Company’s
assets as may be contemplated by or required under the terms of such cash collateral use; or
(iii) execute, deliver, verify, and/or file, or cause to be filed and/or executed, delivered, or verified,
and to amend, supplement, or otherwise modify from time to time, all necessary and appropriate
documents, including, without limitation, affidavits, schedules, motions, pleadings, and other
documents, agreements, and papers, postpetition financing documents, and loan agreements
(including any ancillary documents thereto) in such form as the Authorized Persons may approve,
and to take any and all actions that the Authorized Persons determine advisable, necessary, or
appropriate in connection with any postpetition cash collateral usage contemplated hereby or
thereby (such approval and the approval of the Board to be conclusively evidenced by the
execution thereof or taking of such action by the Authorized Persons); and be it further

               RESOLVED, that each applicable Governing Body, acting with respect to its
applicable F21 Company, hereby determines that, to use and obtain the benefits of the Cash
Collateral, and in accordance with sections 363 and 364 of the Bankruptcy Code, such
F21 Company will provide certain adequate protection to the Secured Parties
(the “Adequate Protection Obligations”), and authorizes and directs such F21 Company, as debtor
and debtor in possession under the Bankruptcy Code, and each of the Authorized Persons, to
negotiate and incur the Adequate Protection Obligations and to undertake any and all related
transactions as in his or her reasonable discretion is determined to be necessary, desirable, or
appropriate in connection with providing such adequate protection; and be it further

                 RESOLVED, that each applicable Governing Body, acting with respect to its
applicable F21 Company, hereby authorizes, adopts, and approves the form, terms, and provisions
of the proposed order authorizing, among other things, the F21 Companies’ use of the
Cash Collateral (the “Interim Cash Collateral Order”) to which such F21 Company is or will be
subject and the actions and transactions contemplated thereby, and each Authorized Person be, and
hereby is, authorized and empowered, in the name of and on behalf of such F21 Company, to take
such actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform,
and cause the performance of, the Interim Cash Collateral Order, and such other agreements,
certificates, instruments, receipts, petitions, motions, or other papers or documents to which such
F21 Company is or will be a party, including any security and pledge agreement or guaranty
agreement, incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, in the form or substantially in the form thereof presented to such Governing Body on
or prior to the adoption of this resolution, with such changes, additions, and modifications thereto
as an Authorized Person executing the same shall approve, such approval to be conclusively
evidenced by an Authorized Person’s execution and delivery thereof; and be it further

              RESOLVED, that each applicable Governing Body, acting with respect to its
applicable F21 Company, hereby authorizes and directs each of the Authorized Persons, in the
name and on behalf of such F21 Company, to take all such further actions, including to pay or
approve the payment of appropriate fees and expenses payable in connection with the
Adequate Protection Obligations and appropriate fees and expenses incurred by or on behalf of
such F21 Company, which shall be in their sole judgment necessary, proper, or advisable to
perform any of such F21 Company’s obligations under or in connection with the Interim Cash
Collateral Order, any other documents related to the provision of adequate protection, or any of


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the other ancillary documents and the transactions contemplated therein and to carry out fully the
intent of the foregoing resolutions; and be it further

                 RESOLVED, that, in the judgment of the Governing Body of each F21 Company,
it is desirable and in the best interest of each such F21 Company, its creditors, and other parties in
interest that each such F21 Company use the Bankruptcy Cases to implement an orderly wind
down of its business and liquidation of its assets; and be it further

               RESOLVED, that, each applicable Governing Body acting with respect to its
applicable F21 Company, hereby authorizes and directs each of the Authorized Persons to continue
store closing sales to liquidate all of the F21 Companies’ retail and wholesale inventory and
locations; and be it further

                RESOLVED, that, each applicable Governing Body acting with respect to its
applicable F21 Company, hereby authorizes and directs each of the Authorized Persons to make,
execute, file, and deliver any and all consents, certificates, documents, instruments, amendments,
papers, or writings as may be required in connection with or in furtherance of any of the foregoing,
and to do any and all other acts necessary or desirable to effectuate the foregoing resolutions, the
execution and delivery thereof by such Authorized Persons to be deemed conclusive evidence of
the approval by the applicable F21 Company of the terms, provisions, and conditions thereof; and
be it further

                RESOLVED, that any and all past actions heretofore lawfully taken by any
Authorized Person, or any other officers, directors, members or any authorized persons acting
under similar authority, as the case may be, of the applicable F21 Company, or the
Governing Body, in the name and on behalf of the applicable F21 Company in furtherance of any
or all of the preceding resolutions are hereby ratified, confirmed, adopted, and approved in all
respects; and be it further

               4. General

                RESOLVED, that each of the Authorized Persons be, and each of them
individually hereby is, authorized, directed, and empowered from time to time in the name and on
behalf of each F21 Company, to (i) take such further actions and execute and deliver such
certificates, instruments, guaranties, notices, and documents as may be required or as such
Authorized Person or any one of them may deem advisable, appropriate, convenient, desirable, or
necessary to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements, and the like, (ii) perform
the obligations of each F21 Company under the Bankruptcy Code, with all such actions to be
performed in such manner, and all such certificates, instruments, guaranties, notices, and
documents to be executed and delivered in such form, as the Authorized Person performing or
executing the same shall approve, and the performance or execution thereof by such Authorized
Person shall be conclusive evidence of the approval thereof by such Authorized Person and by
such F21 Company, and (iii) pay fees and expenses in connection with the transactions
contemplated by the foregoing resolutions; and be it further




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                RESOLVED, that all actions previously taken by any director, officer, employee,
manager, member, stockholder, general partner, or agent of any F21 Company in connection with
or related to the matters set forth in or reasonably contemplated or implied by the foregoing
resolutions be, and each of them hereby is, adopted, ratified, confirmed, and approved in all
respects as the acts and deeds of such F21 Company.


                                   [Signature pages follow]




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                          IN WITNESS WHEREOF, the undersigned, being all of the members of the
                  Board of Managers of F21 OpCo, LLC, have executed this consent as of the date first
                  set forth above.



                                                                BOARD OF MANAGERS OF F21 OPCO,
                                                                LLC:



                                                                     Scott Vogel




                                                                     Paul Aronzon




                                      SIGNATURE PAGE TO ACTION BY WRITTEN CONSENT
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                     IN WITNESS WHEREOF, the undersigned, being the sole member of each of the
             entities set forth below, has executed this consent as of the date first set forth above.



                                                                 IN ITS CAPACITY AS THE SOLE MEMBER
                                                                 OF EACH OF:

                                                                 F21 PUERTO RICO, LLC

                                                                 F21 GIFTCO MANAGEMENT, LLC


                                                                 F21 OPCO, LLC



                                                                 By: Michael Brown
                                                                 Title: Authorized Signatory




                                      SIGNATURE PAGE TO ACTION BY WRITTEN CONSENT
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    F21 OPCO, LLC, et al., 1                                   Case No. 25-_________ (___)

                     Debtors.                                  (Joint Administration Requested)


                        CONSOLIDATED CORPORATE OWNERSHIP
                   STATEMENT AND LIST OF EQUITY SECURITY HOLDERS

             Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, F21 OpCo, LLC and its debtor affiliates as debtors in possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases, hereby state as follows:

             1. The mailing address of Debtor F21 OpCo, LLC (“F21 OpCo”) and each of its
                subsidiaries is 110 East 9th Street, Suite A500, Los Angeles, CA 90079. F21 OpCo is
                a wholly-owned subsidiary of SPARC Group Holdings LLC.

             2. Debtors F21 Puerto Rico, LLC and F21 GiftCo Management, LLC are each
                wholly-owned by F21 OpCo.




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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      F21 OpCo, LLC (8773); F21 Puerto Rico, LLC (5906); and F21 GiftCo Management, LLC (6412). The Debtors’
      address for purposes of service in these chapter 11 cases is 110 East 9th Street, Suite A500, Los Angeles, CA
      90079.
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Fill in this information to identify the case:

Debtor name         F21 OpCo, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 16, 2025                  X    /s/ Stephen Coulombe
                                                             Signature of individual signing on behalf of debtor

                                                             Stephen Coulombe
                                                             Printed name

                                                             Co-Chief Restructuring Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors



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